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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                           )
 In re:                                                    )   Chapter 11
                                                           )
 YELLOW CORPORATION, et al.,                               )   Case No. 23-11069 (CTG)
                                                           )
                                Debtors.                   )   (Jointly Administered)
                                                           )
                                                    Re: Docket No. 1332
                    ORDER GRANTING DEBTORS’ MOTION FOR LEAVE
                   TO FILE A LATE REPLY IN SUPPORT OF SALE MOTION

                   Upon consideration of the Debtors’ Motion for Leave to File a Late Reply in

Support of Sale Motion, IT IS HEREBY ORDERED THAT:

          1.       The Motion is GRANTED.

          2.       The Debtors are permitted to file a late Reply on or before December 11, 2023 at

4:00 p.m. (ET), and such Reply shall be deemed timely filed.




Dated: December 12th, 2023                 CRAIG T. GOLDBLATT
Wilmington, Delaware                       UNITED STATES BANKRUPTCY JUDGE




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